                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________


STATE OF WISCONSIN LOCAL                             )
GOVERNMENT PROPERTY                                  )
INSURANCE FUND,                                      )
                                                     )
               Plaintiff,                            )
v.                                                   )      No.     2:15-cv-00142-JPS
                                                     )
LEXINGTON INSURANCE COMPANY,                         )
ET Al.                                               )
                                                     )
               Defendants.                           )

______________________________________________________________________________

 STATE OF WISCONSIN LOCAL GOVERNMENT PROPERTY INSURANCE FUND'S
                NOTICE OF MOTION AND MOTION TO COMPEL
______________________________________________________________________________

       NOW COMES the State of Wisconsin Local Government Property Insurance Fund

("Fund") by and through its counsel, Borgelt, Powell, Peterson & Frauen, S.C., and pursuant to

Federal Rule of Civil Procedure 37, respectfully moves this Court for an order compelling the

Defendant, Lexington Insurance Company ("Lexington") to respond to the Fund's First Set of

Written Interrogatories and Requests for Production of Documents, served on February 2, 2017.

As is set forth in the accompanying Brief and Affidavit, Lexington has failed to respond to

numerous interrogatories and requests for production, without any basis or justification.

       Counsel for the Fund made a good faith effort to resolve this discovery dispute with

Lexington’s counsel.        However, the parties have been unable to resolve their dispute, and

therefore, the Fund brings this Motion for good cause.




         Case 2:15-cv-00142-JPS Filed 08/29/17 Page 1 of 2 Document 141
       WHEREFORE, the Fund respectfully requests this Court enter and Order compelling

Lexington to respond to Interrogatories 4, 5, 7, 10, 12, 13, and 17 and Requests for Production 6,

7, 8, 10, and 12, previously served to Lexington on February 2, 2017.


               Dated at Milwaukee, Wisconsin this 29th day of August, 2017.


               By: ____s/ Barbara A. O’Brien___________________
                     Patryk Silver (Wis. Bar State No. 1036738
                     Robert C. Burrell (Wis. State ar No. 1014530)
                     Barbara A. O’Brien (Wis. State Bar No. 1018341)
                     Frederick J. Strampe (Wis. State Bar No. 1029795
                     Attorneys for Plaintiff, State of Wisconsin Local Government Property
                      Insurance Fund
                     Borgelt, Powell, Peterson & Frauen, S.C.
                     1243 North 10th Street, Suite 300
                     Milwaukee, WI 53205
                     Telephone: (414) 276-3600
                     Fax: (414) 276-0172
                     Email: rburrell@borgelt.com
                            bobrien@borgelt.com
                            psilver@borgelt.com
                            fstrampe@borgelt.com




         Case 2:15-cv-00142-JPS Filed 08/29/17 Page 2 of 2 Document 141
